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4                                                                              JUN 14 2022

5                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
                                                                          BY mccall     DEPUTY CLERK
6
                             UNITED STATES BANKRUPTCY COURT
7
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
8     In re
                                                    Case No. 22-BK-10948-SC
9     TRX HOLDCO, LLC
                                                    Chapter 11
10             Debtor(s).
                                                    ORDER (1) SETTING SCHEDULING
11                                                  HEARING AND CASE MANAGEMENT
                                                    CONFERENCE AND (2) REQUIRING
12                                                  STATUS REPORT

13                                                  Date: August 17, 2022
                                                    Time: 1:30 p.m.
14                                                  Location: Courtroom 5C - Virtual
                                                    411 West Fourth Street
15                                                  Santa Ana, CA 92701

16
     TO: DEBTOR AND ITS COUNSEL OF RECORD:
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              In order to expedite the disposition of this bankruptcy case and to provide
18
     information to creditors and other parties in interest, the court makes the following
19
     ORDER:
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              IT IS HEREBY ORDERED that pursuant to 11 U.S.C. § 105(d) a status
21
     conference in this case will be held on August 17, 2022 at 1:30 p.m. in Courtroom 5C
22
     – Virtual (accessibility information will be posted into the Court’s tentative ruling prior to
23
     the hearing) on the 5th Floor of 411 West Fourth Street, Santa Ana, CA 92701.
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1           IT IS FURTHER ORDERED that Debtor shall serve this order within 48 hours of

2    receipt on the 20 largest unsecured creditors (or the committee of creditors, if any), all

3    secured creditors, and the U.S. Trustee. Debtor shall file and serve a Status Report

4    with the court and serve the U.S. Trustee and all official committees 14 days before

5    every status conference hearing in this case. The Status Report and all proposed

6    disclosure statements shall be supported by evidence in the form of declarations and

7    supporting documents. Additionally, Debtor shall file a line item budget with the first

8    status report which shall cover the first 60 days of the bankruptcy. This budget shall

9    include all income and expenses of the Debtor.

10          FAILURE OF THE DEBTOR TO APPEAR (THROUGH COUNSEL, IF THE

11   DEBTOR IS REPRESENTED), TO FILE A STATUS REPORT, OR TO SERVE THIS

12   NOTICE AS REQUIRED MAY RESULT IN THE APPOINTMENT OF A CHAPTER 11

13   TRUSTEE, DISMISSAL OF THE CASE, OR CONVERSION TO A CASE UNDER

14   CHAPTER 7 OF THE BANKRUPTCY CODE.

15          The status report shall include the following information or an explanation

16   of why such information has not been included:

17          (1) Describe events that led up to and caused the filing of the Chapter 11 case.

18          (2) Describe the status of the Debtor’s post-petition operations and its major

19   assets and liabilities.

20          (3) Describe the status of the Debtor’s pre-petition and post-petition litigation.

21          (4) State whether the estate has any potential avoidance actions as described

22   in 11 U.S.C. §§ 544-550. If so, describe them briefly and state whether complaints

23   have been filed. If complaints have not been filed, explain why not and estimate when

24   they will be filed.



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1           (5) Disclose whether counsel has been retained in this case. If so, whether the

2    court has approved the employment. If the Debtor has not sought or obtained approval

3    of counsel, explain why not.

4           (6) Disclose whether other professionals have been retained in this case. If so,

5    whether the court has approved the employment. If the Debtor has not sought or

6    obtained approval of professional employment, explain why not.

7           (7) Disclose whether the Debtor is in compliance with all of its duties under 11

8    U.S.C. §§ 521, 1106, and 1107 and all applicable guidelines of the Office of the United

9    States Trustee. If not, please explain.

10          (8) Whether case is a small business case under 11 U.S.C. § 101(51D).

11          (9) Whether case is a single asset real estate case under 11 U.S.C. § 101(51B).

12          (10) A proposed deadline for filing and serving a disclosure statement and plan

13   of reorganization. If a disclosure statement cannot be filed within the first 120 days of

14   this case, explain the reasons for delay.

15          (11) A proposed deadline for filing proofs of claims.

16          (12) A proposed deadline for filing of objections to claims.

17          (13) A proposed deadline for filing any avoidance actions.

18          CREDITOR ATTENDANCE IS WELCOME, BUT NOT REQUIRED.

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          Date: June 14, 2022

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